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    4
        Attorney for Defendant,                                                         -~
    5   RUBEN MEDINA                                                                    c;,
                                                                                        --v
    6
                                                                                        r.~
    7                          UNITED STATES DISTRICT COURT                        ~     E`~,
                                                                                        t~J


    8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA,                  CASE NO: CR OS-578-JFW
                                   Plaintiff,
   11                                              DEFENDANT RUBEN MEDINA'S
                     vs.                           STATEMENT RE NO ORAL
   12                                              ARGUMENT AT WIRETAP
                                                   MOTIONS HEARING
   13   RAFAEL YEPIZ, et al.
                                                   Hearing Date: May 9, 2006
   14                              Defendant.      Hearing Time: 8:30 a.m.

   15

   16   TO THE HONORABLE JOHN F. WALTER,UNITED STATES DISTRICT JUDGE,AND
   17   TO ALL COUNSEL OF RECORD:
   18

   19         No oral argument will be presented by Robert Ramsey, Jr. on behalf of defendant
  20    Ruben Medina at the hearing of the motions to suppress wiretaps.
  21

  22    Dated: May 3, 2006                             Respectfully submitted,

  23                                                   Law Offices of Ramsey &Price
  24

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                                                       Attorney fo D            ~tTE~ o~
  27                                                   Ruben Medi a

  as                                                                       MAY     5 ~(l06

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Case 2:05-cr-00578-JFW Document 1245 Filed 05/03/06 Page 2 of 4 Page ID #:35037



    1                                       PROOF OF SERVICE

    2

    3 II STATE OF CALIFORNIA
                                               ss.
    4 II COUNTY OF LOS ANGELES

    5          I am employed in the County of Los Angeles, State of California. I am over the age of 18
        and not a party to the within action; my business address is 445 South Figueroa Street, Suite 2640,
    6   Los Angeles, CA 90071.

    7           On May 3, 2006, I served the foregoing documents) described as DEFENDANT RUBEN
        MEDINA'S STATEMENT RE NO ORAL ARGUMENT AT WIRETAP MOTIONS HEARING to the
    8   parties in this action by placing a true copy thereof enclosed in a sealed envelope addressed as
        follows:
    9
                                                Mark A. Young, Esq.
   10
                                              Peter A. Hernandez, Esq.
                                                 David P. Kowal, Esq.
   11
                                           Assistant United States Attorneys
                                            1400 United States Courthouse
   12
                                               312 North Spring Street
                                            Los Angeles, California 90012
   13

   14

   15

   16 [X] BY MAIL:            I caused such envelope with postage thereon fully prepaid to be placed in the
                              United States mail at Los Angeles, California.
   17
      [X] BY ELECTRONIC MAIL:I served a copy ofthe foregoing document via electronic mail to
   18     the ATTACHED SERVICE LIST.

  19 [X] (FEDERAL) I declare that I am employed in the office ofa member ofthe bar of this court
                      at whose direction the service was made.
  20
         Executed on May 3,2006, at Los Angeles, California.
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                                                             1'~~-
                                                     Maria . Corpuz

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    1                                        SERVICE LIST
                                    UNITED STATES v. YEPIZ,ET AL.
    2                                  Case No. CR OS-578(A)-JFW

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